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			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
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					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							May 27, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Enos (Amended Opinion).&nbsp; ICA s.d.o., filed 04/30/2019 [ada], 144 Haw. 375.&nbsp; Application for Writ of Certiorari, filed 08/26/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 10/10/2019 [ada].&nbsp; S.Ct. Opinion, filed 05/27/2020.

							Circuit Court, 1st Circuit
							
						
												
							May 27, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Key (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 01/29/2020 [ada], 146 Haw. 118.&nbsp; Application for Writ of Certiorari, filed 03/30/2020.

							District Court, 1st Circuit, Wahiawa Division
							
						
												
							May 27, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Enos.&nbsp; ICA s.d.o., filed 04/30/2019 [ada], 144 Haw. 375.&nbsp; Application for Writ of Certiorari, filed 08/26/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 10/10/2019 [ada].&nbsp; S.Ct. Amended Opinion, filed 05/27/2020 [ada].

							Circuit Court, 1st Circuit
							
						
												
							May 26, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Scriven (Order Approving Stipulation for Voluntary Dismissal of the Appeal).

							Circuit Court, 5th Circuit
							
						
												
							May 26, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Bergmann v. Hawai‘i Residency Programs, Inc. (Order Approving Stipulation to Dismiss Appeal With Prejudice).

							Circuit Court, 1st Circuit
							
						
												
							May 26, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Cornelio v. State (s.d.o., affirmed).

							Circuit Court, 2nd Circuit
							
						
												
							May 26, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Thronas-Kaho‘onei (s.d.o., affirmed).

							Circuit Court, 5th Circuit
							
						
												
							May 26, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Liao (s.d.o., affirmed).

							District Court, 1st Circuit
							
						
												
							May 22, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Xu v. Ochiai (Order Denying Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 05/06/2020.

							Original Proceeding
							
						
												
							May 22, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							DB v. BB (Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing as Moot All Pending Motions in CAAP-XX-XXXXXXX).

							Family Court, 1st Circuit
							
						
												
							May 21, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Wilmington Trust v. Association of Apartment Owners of Waikoloa Hills Condominium (Order Granting Motion to Dismiss Appeal).

							Circuit Court, 3rd Circuit
							
						
												
							May 21, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Prudential Locations, LLC v. Gagnon (Order Dismissing Application for Writ of Certiorari). Consolidated with CAAP-XX-XXXXXXX.&nbsp; ICA mem. op., filed 04/15/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 05/15/2020.

							Circuit Court, 1st Circuit
							
						
												
							May 21, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							JZ v. JZ (mem. op., affirmed, vacated and remanded).

							Family Court, 1st Circuit
							
						
												
							May 20, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Baker (Order of Correction).&nbsp; ICA s.d.o., filed 04/18/2019 [ada], 144 Haw. 334. Application for Writ of Certiorari, filed 07/24/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 08/30/2019 [ada].&nbsp; S.Ct. Opinion, filed 03/13/2020 [ada].

							District Court, 1st Circuit, Honolulu Division
							
						
												
							May 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Schmidt v. Schmidt (Order Dismissing Appeal).

							Family Court, 1st Circuit
							
						
												
							May 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Trubachev (Order Dismissing Appeal).

							Circuit Court, 3rd Circuit
							
						
												
							May 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Grandinetti (Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing All Pending Motions as Moot).

							Circuit Court, 3rd Circuit
							
						
												
							May 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Grandinetti (Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing All Pending Motions as Moot).

							Circuit Court, 3rd Circuit
							
						
												
							May 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Grace v. Yett Property Management, LLC (Order Dismissing Appeal).

							Labor and Industrial Relations Appeals Board
							
						
												
							May 20, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Porter v. The Queen’s Medical Center (Order Accepting Application for Writ of Certiorari).&nbsp; ICA Opinion, filed 02/21/2020 [ada].&nbsp; Motion for Reconsideration, filed 02/27/2020.&nbsp; ICA Order Denying Motion for Reconsideration, filed 03/04/2020.&nbsp; Amended Order Denying Motion for Reconsideration, filed 03/10/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 03/11/2020.&nbsp;&nbsp; S.Ct. Order Dismissing Application for Writ of Certiorari, filed 03/19/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 04/13/2020.

							Labor and Industrial Relations Appeals Board
							
						
												
							May 20, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							LO v. NO (Order Accepting Application for Writ of Certiorari).&nbsp; ICA mem. op., filed 02/06/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 04/03/2020.

							Family Court, 1st Circuit
							
						
												
							May 19, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Office of the Public Defender v. Connors (Fifth Interim Order).&nbsp; S.Ct. Interim Order re: Initial Summary Report and Initial Recommendations of the Special Master, filed 04/09/2020 [ada]. Consolidated with SCPW-XX-XXXXXXX. S.Ct. Interim Order, filed 04/15/2020 [ada].&nbsp; S.Ct. Third Interim Order, filed 04/24/2020 [ada].&nbsp; Concurrence re: Interim Order&nbsp;[ada].&nbsp; S.Ct. Fourth Interim Order, filed 05/04/2020 [ada].

							Original Proceeding
							
						
												
							May 19, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							KG v. AG (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Family Court, 2nd Circuit
							
						
												
							May 19, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Martin (Order).&nbsp; ICA s.d.o., filed 03/29/2019. ICA Amended s.d.o., filed 03/29/2019 [ada], 144 Haw. 153.&nbsp; Application for Writ of Certiorari, filed 08/07/2019. &nbsp;S.Ct. Order Accepting Application for Writ of Certiorari, filed 09/18/2019 [ada]. S.Ct. Opinion, filed 04/22/2020 [ada].&nbsp; S.Ct. Order of Correction, filed 04/23/2020 [ada].&nbsp; Motion for Reconsideration, filed 05/14/2020.

							Circuit Court, 3rd Circuit
							
						
												
							May 19, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							RSM Inc. v. Middleton (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Hilo Division
							
						
												
							May 19, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							In re Taniguchi Trust (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 02/24/2020 [ada].&nbsp;&nbsp; Application for Writ of Certiorari, filed 04/07/2020.

							Circuit Court, 1st Circuit
							
						
												
							May 19, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Uchima.&nbsp; Opinion by Recktenwald, C. J. Concurring in Part and Dissenting in Part, And Concurring in the Judgment [ada].&nbsp; Opinion by Nakayama, J., Dissenting From the Judgment [ada].&nbsp; ICA&nbsp;s.d.o., filed 02/15/2018 [ada], 141 Haw. 396. Application for Writ of Certiorari, filed 05/24/2018.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 07/05/2018 [ada]. Dissent by Nakayama, J., with whom Recktenwald, C.J., joins.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							May 15, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Lauro (Order Denying Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 04/30/2020.

							Original Proceeding
							
						
												
							May 15, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							HawaiiUSA Federal Credit Union v. Monalim (Order Denying Motion for Partial Reconsideration). ICA s.d.o., filed 05/17/2018 [ada] 142 Haw. 216. Application for Writ of Certiorari filed 09/17/2018. S.Ct. Order Accepting Application for Writ of Certiorari, filed 11/14/2018 [ada].&nbsp; S.Ct. Opinion, filed 04/30/2020 [ada].&nbsp; Concurring and Dissenting Opinion by Nakayama, J. in which Recktenwald, C.J., Joins [ada].&nbsp; Motion for Partial Reconsideration, filed 05/11/2020.

							Circuit Court, 1st Circuit
							
						
												
							May 15, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Harshman (Order Denying Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 04/07/2020.

							Original Proceeding
							
						
												
							May 15, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Young v. Chang (Order Denying Petition for Writ of Prohibition).&nbsp; Petition for Writ of Prohibition, filed 03/23/2020.

							Original Proceeding
							
						
												
							May 15, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Gallagher. Dissenting Opinion by Recktenwald, C.J. [ada]. Dissenting Opinion by Nakayama, J. [ada]. ICA&nbsp;s.d.o., filed 12/20/2017 [ada], 141 Haw. 247. Application for Writ of Certiorari, filed 03/01/2018. S.Ct. Order Accepting Application for Writ of Certiorari, filed 04/13/2018 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							May 15, 2020
							S.Ct
							SCOT-XX-XXXXXXX [ADA]
							Lāna‘ians for Sensible Growth v. Land Use Commission.&nbsp; Dissenting Opinion as to Parts III (E) and IV By Wilson, J.[ada]&nbsp; Opinion Concurring in the Judgment and Dissenting by Recktenwald, C.J., in Which Nakayama, J., Joins.[ada].

							Land Use Commission
							
						
												
							May 15, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Yamano v. Ochiai (Order Denying “Application for Writ of Prohibition/Mandamus”).&nbsp; “Application for Writ of Prohibition/Mandamus”, filed 05/06/2020.

							Original Proceeding
							
						
												
							May 15, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Shaw (mem. op., vacated and remanded).

							Circuit Court, 1st Circuit
							
						
												
							May 14, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Ted’s Wiring Service, Ltd. v. Department of Transportation (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA mem.op., filed 12/26/2019 [ada], 146 Haw. 31.&nbsp; Application for Writ of Certiorari, filed 04/03/2020.

							Circuit Court, 1st Circuit
							
						
												
							May 14, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Tavares (Order Dismissing Certiorari Proceeding).&nbsp; ICA mem. op., filed 11/29/2019 [ada], 145 Haw. 299.&nbsp; Application for Writ of Certiorari, filed 01/23/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 05/05/2020 [ada].

							Circuit Court, 1st Circuit
							
						
												
							May 13, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Pennymac Corp. v. Godinez (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 12/06/2019 [ada], 145 Haw. 442.&nbsp; Application for Writ of Certiorari, filed 03/11/2020.

							Circuit Court, 2nd Circuit
							
						
												
							May 12, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Taylor v. Attorneys At Law, Crudele &amp; De Lima (Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing All Pending Motions as Moot).

							Circuit Court, 3rd Circuit
							
						
												
							May 11, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Jaentsch (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 12/31/2019 [ada], 146 Haw. 32.&nbsp; Application for Writ of Certiorari, filed 04/01/2020.

							Family Court, 1st Circuit
							
						
												
							May 8, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Austin v. Browning (Order Denying Petition for Writ of Prohibition).&nbsp; Petition for Writ of Mandamus, filed 02/28/2020.

							Original Proceeding
							
						
												
							May 8, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re The Estate of Stirling (Order Approving Stipulation to Dismiss Appeal).

							Circuit Court, 2nd Circuit
							
						
												
							May 8, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Pattioay v. State (Order Dismissing Appeal For Lack Of Appellate Jurisdiction, Dismissing All Pending Motions As Moot, And Directing Circuit Court To Treat Notice Of Appeal As Non-Conforming HRPP Rule 40 (c) (2) Petition For Post-Conviction Relief And Open A Circuit Court Special Proceeding).

							Circuit Court, 1st Circuit
							
						
												
							May 8, 2020
							ICA
							CAOT-XX-XXXXXXX [ADA]
							Purugganan v. State (Order Dismissing Case Number CAOT-XX-XXXXXXX for Lack of Jurisdiction and Dismissing All Pending Motions as Moot).

							Non-Conforming Petition
							
						
												
							May 8, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Kadomatsu v. County of Kaua‘i (mem. op., affirmed).

							Circuit Court, 5th Circuit
							
						
												
							May 7, 2020
							S.Ct
							SCMF-XX-XXXXXXX [ADA]
							February 2020 Notice of Passing the Hawai‘i Bar Examination.

							
							
						
												
							May 6, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Jason (Order Granting Motion to Dismiss Appeal).

							Circuit Court, 3rd Circuit
							
						
												
							May 5, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Ikimaka (Order Accepting Application for Writ of Certiorari).&nbsp; ICA mem. op., filed 11/27/2019.&nbsp; ICA Amended mem. op., filed, 12/18/2019 [ada], 146 Haw. 29.&nbsp; Application for Writ of Certiorari, filed 03/23/2020.&nbsp;

							Circuit Court, 5th Circuit
							
						
												
							May 5, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Estate of Frey v. Mastroianni.&nbsp; ICA mem. op., filed 06/29/2018 [ada], 142 Haw. 483.&nbsp; Application for Writ of Certiorari, filed 09/28/2018.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari,&nbsp; filed 11/29/2018 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							May 5, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Haynes v. Haas.&nbsp; ICA mem. op., filed, 04/17/2019 [ada], 144 Haw. 157.&nbsp; Application for Writ of Certiorari, filed 07/15/2019. S.Ct.Order Accepting Application for Writ of Certiorari, filed 09/11/2019 [ada].

							Circuit Court, 3rd Circuit
							
						
											
				
			
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